Case:17-03283-LTS Doc#:23631-8 Filed:02/27/23 Entered:02/27/23 00:24:23   Desc:
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                                  Exhibit H

                  SUMMARY OF OUTSTANDING PREPA BONDS
    Case:17-03283-LTS Doc#:23631-8 Filed:02/27/23 Entered:02/27/23 00:24:23                                                             Desc:
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                    SUMMARY OF OUTSTANDING PREPA BONDS 1



                                                                 Range of      Final                               Asserted Principal &
                            Issue                       Interest Rates for   Maturity   Asserted Principal as of   Interest as of Petition
         Series              Date   Amount Issued     Outstanding Bonds         Date              Petition Date                      Date
         SERIES JJ         1/3/02      720,370,000     5.375% - 5.375%        7/1/18                42,315,000                43,452,216
         SERIES LL         7/2/02      499,910,000     5.500% - 5.500%        7/1/19                77,905,000                80,047,388
         SERIES MM        10/3/02      105,055,000     5.000% - 5.000%        7/1/23                56,200,000                57,605,000
         SERIES NN        8/19/03      517,305,000     4.750% - 5.500%        7/1/33               171,525,000               175,942,925
         SERIES PP        8/26/04      224,700,000     3.750% - 5.000%        7/1/25                84,765,000                86,875,446
         SERIES QQ         4/4/05      224,700,000     5.500% - 5.500%        7/1/18                35,340,000                36,311,850
         SERIES RR         4/4/05      993,450,000     5.000% - 5.000%        7/1/28               236,265,000               242,171,625
         SERIES SS         4/4/05      993,450,000     3.875% - 5.000%        7/1/30               332,205,000               340,436,128
         SERIES TT         5/3/07    1,943,565,000     4.200% - 5.250%        7/1/37               622,085,000               637,570,581
         SERIES UU         5/3/07    1,943,565,000     1.189% - 5.000%        7/1/31               777,280,000               789,310,979
         SERIES VV        5/30/07      557,410,000     5.250% - 5.500%        7/1/35               546,645,000               561,018,444
         SERIES WW        6/26/08      697,345,000     5.000% - 5.500%        7/1/38               610,140,000               626,460,619
         SERIES XX         4/7/10      822,210,000     4.625% - 5.750%        7/1/40               822,210,000               843,980,338
         SERIES YY        4/29/10      320,175,000     6.125% - 6.125%        7/1/40               320,175,000               325,077,680
         SERIES AAA        5/5/10      363,075,000     5.250% - 5.250%        7/1/31               363,075,000               372,605,719
         SERIES ZZ         5/5/10      631,160,000     3.700% - 5.250%        7/1/28               514,900,000               528,076,798
         SERIES BBB       5/26/10       76,800,000     5.400% - 5.400%        7/1/28                76,800,000                77,836,800
         SERIES CCC       5/26/10      316,920,000     4.250% - 5.250%        7/1/28               316,920,000               325,033,941
         SERIES DDD      10/14/10      218,225,000     3.300% - 5.000%        7/1/24               218,225,000               223,144,738
         SERIES EEE      12/29/10      355,730,000     5.950% - 6.250%        7/1/40               355,730,000               361,133,935
         SERIES 2012A      5/1/12      650,000,000     4.800% - 5.050%        7/1/42               630,110,000               645,848,240
         SERIES 2013A     8/21/13      673,145,000     6.750% - 7.250%        7/1/43               673,145,000               696,364,450
         Series 2016A     5/19/16       55,639,539   10.000% - 10.000%        7/1/19                55,639,539                58,421,516
         Series 2016B     6/22/16       55,210,625   10.000% - 10.000%        7/1/19                55,210,625                57,971,156
         Series 2016C     6/30/16      104,600,000     5.400% - 5.400%        7/1/20               104,600,000               110,264,090
         Series 2016D     6/30/16       64,375,560     7.500% - 7.500%        7/1/20                64,375,560                69,217,139
         Series 2016E     6/30/16       94,828,424   10.000% - 10.000%        7/1/22                94,828,424               104,337,608
         Total                      14,222,919,148                                               8,258,614,148            8,476,517,345




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    The information provided in this document is for summary purposes only. To the extent of any discrepancies between this
    exhibit and the official statements for the respective bonds, the Master Bond Claim (Claim No. [__]), the Disclosure
    Statement or the Plan, those documents shall prevail in all respects.
